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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
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4

5    Attorney for Defendant
     LAKHVINDER SINGH
6

7                            IN THE UNITED STATES DISTRICT COURT
8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                       )   Case No.: 2:07-CR-00570-FCD
                                                     )
10                  Plaintiff,                       )   AMENDED ORDER TO RECONVEY
                                                     )   PERSONAL PROPERTY
11          vs.                                      )
                                                     )   DATE: February 10, 2012
12   LAKHVINDER SINGH,                               )
                                                     )
13                                                   )
                    Defendant.                           Hon. Edmund F. Brennan
                                                     )
14

15
                                                  ORDER
16
            The Court hereby grants Defendant’s request to reconvey cash property in the amount of
17
     $14,000.00 that was paid to the Court and posted on April 8, 2008, to secure Defendant’s pre-
18
     trial release. The Court further authorizes the Clerk of the United States District Court to
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     reconvey the cash property to Defendant’s attorney of record, Johnny L. Griffin, III. The
20
     property is described as follows: $14,000.00. The property of $14,000.00 is to be made payable
21
     to the Law Offices of Johnny L. Griffin, III Attorney-Client Trust Fund Account.
22
            IT IS SO ORDERED.
23

24          Dated: February 13, 2012

25




                                      Amended Order to Reconvey Property
